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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                    TRENTON DIVISION

 THE INDEPENDENCE PROJECT, INC., a New
 Jersey Non Profit Corporation, and RONALD
 MOORE, Individually,

                Plaintiffs,                              :    Case No.
 vs.

 BOTTAZZI ASSOCIATES, LLC, a New Jersey
 Limited Liability Company,

                Defendant(s).
                                                     J
                                         COMPLAINT

        Plaintiffs, THE INDEPENDENCE PROJECT, INC., a New Jersey Non Profit

Corporation, and RONALD MOO RE, Individ ually, on their beh alf and on beha lf of all other

mobility impaired individuals similarly situated, (sometimes referred to as "Plaintiff' or

"Plaintiffs"), hereby sue the Defendant, BOTTAZZI ASSOCIATES, LLCS a Ne w Jersey Limited

Liability Company (sometimes referred to as "'Defendant"), for Injunctive Relief, damages ,

attorney's fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42



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  U.S.C. § 12181 et seg. ("ADA") and the New Jersey Law Against Discrimination (N.J.S.A.).

                                  COUNTI
                        VIOLATION OF TITLE III OF THE
              AMERICANS WITH DISABILITIES ACT, 42 USC $ 12181, et sea.

 1.     Plaintiff. Ronald Moore, is an individual residing at 1 002 Central Ave., New Providence,

        NJ 07974, in the County of Union.

 2.     Plaintiff, THE INDEP ENDENCE PROJECT, INC., is a nonprofit corporation formed

        under the laws of the State: of New Jersey. THE INDEPENDENCE PROJ ECT, INC.

        maintains its princip al office at 1002 Centra l Ave., New Pro vidence, NJ 0797 4, in the

        County of Union.

 3.     Defendant, BOTTAZZI ASSOC IATES, LLC. holds tit le to the subject prop erty alleged

        by the Plaintiffs to be operating in violation of Title III of the ADA.

 4.     Defendant's property, Red Lion Plaza is located, at 2518 Hoope r Avenue, Brick, NJ

        08723, in the County of Ocean.

 5.     Venue is properly located in the D istrict of N ew Jersey because venue lies in the judicial

        district of the property situs . The Defendant's prope rty is loca ted in and does bu siness

        within this judicial district.

 6.     Pursuant to 28 U.S.C. § 133 1 and 28 U.S.C . § 1343, this Court has be en given original

       jurisdiction over actions which arise from the Defendant's viola tions of Title III of the

       Americans with Disabili ties Act, 42 U.S.C, § 12181 et seg.      See also 28 U. S.C. § 2201

       and § 2202.

7.     Plaintiff, Ronald Moore is a New Jersey resident, is sui juris, and qualifies as an

       individual with disabilities as defined by the A DA, being a quadriplegic. Ronald Moore

       has visited the property which forms the basis of this lawsuit on numerous occasions and




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        plans to return to the property in the near future to avail himself of the goods and services

        offered to the p ublic at the pro perty. The Plaintiff has encountered architectural barriers

        at the subject property. The barriers to access at the property have endangered his safety.

       The Plaintiff is also a member of the Plaintiff organization, THE INDEPENDENCE

       PROJECT, INC., discussed below in paragraph 8.

 8.    Plaintiff THE INDEPENDENCE PROJECT, INC., is a nonprofit New Jersey

       corporation. Members of this organization include individuals -with disabilities as defined

       by the ADA. The purpose of this organization is to represent the interest of its m embers

       by assuring places of public accommodation are accessible to and usa ble by the disabled

       and that its members are not discriminated against because of their disabilities.

 9.    THE INDEPENDENCE PROJECT, INC. and its members have suffered and will

       continue to suf fer direct and ind irect injury as a result o f the Defendant's discrimination

       until the Defendant has compelled to comply with the requirements of the ADA. One or

       more of its members has suff ered an injury that would al low it to bring suit in its own

       right. THE INDEPENDENCE PROJECT, INC. has also been discriminated against

       because of its association with its disabled members and their claims,

 10.   Defendant owns, leases, leases to, or operates a place of public accommodation as

       defined by the ADA a nd the regula tions implementing the AD A, 28 CF R 36.201(a) and

       36,104. Defendant is responsi ble for complying with the o bligations of the AD A. The

       place of public acc ommodation that the Def endant owns, operates, leases or leases to is

       known as Red Lion Plaza, and is located at 2518 Hoo per Ave nue, Brick, New Jers ey

       08723.

11.    THE INDEP ENDENCE PROJE CT, INC. and Ronald Moo re have a realistic, credi ble,




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           existing and continuing threat of discrimination from the Defendant's non-compliance

           with the ADA with respect to this property as described but not necessarily limited to th e

           allegations in paragraph 13 of this complaint. Plaintiffs have reasonable grounds to

           believe that they will continue to be sub jected to disc rimination in violation of the AD A

           by the Defendant. Ronald Moore desires to visit Red Lion Plaza not only to avail himself

           of the goods and services available at the property but to assure himself that this property

           is in compliance with the ADA so that he and others similarly situated will have full and

           equal enjoyment of the property without fear of discrimination.

 12.       The Defendant has discriminated against the individual Plaintiff and members O f the

           corporate Plaintiff organization by denying them acce ss to, and full and equal enjoyment

           of, the good s, services, facilities, privileg es, advan tages and/or accommodations of the

           buildings, as prohibited by 42 U.S.C. § 12182 etseq.

13.       The Defendant has discriminated, and c ontinues to disc riminate, against the Plain tiffs in

          violation of the ADA by failing to, inter alia, have accessible facilities by Janua ry 26,

          1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

          $500,000 or less). A preliminary inspection of Red Lion Plaza has shown that violations

          exist. These violations that Ronald Mo ore personally encountered or observed include,

          but are not limited to:

          Parking and Exterior Accessible Route

       a) Parking spaces throughout Red Lion Plaza are not maintained; lack adequate access
          aisles, violating Sections 502 and 502.4 of the 2010 Accessibility Standards. These
          conditions during numerous visits preven ted Mr. Moor e from unloading from his van
          freely and safely . On certain occasions he woul d park a way from the pl aza to insure he
          could access his van.

       b) Curb ramps provided to access s tores at Re d Lion Pla za are unsafe for wheelchair users
          and are not provided in some areas of the center. The curb ramps contain excessive


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        slopes, abrupt changes of level and lack level landings, violating Sections 402 and 406 of
        the 2010 Accessibility Standards. Mr. Moore dealt with a lack of maneuvering space at
        the top of the curb ramp. These conditions are unsafe for Mr. M oore when he accesses
        the curb ramps.

    c) The exterior accessible route from parking spaces at Red Lion Pl aza fails to provide a
       safe accessible route to ramps or curb ramps, violating Section 402 of the 2010
       Accessibility Standards. Mr. Moore was forced to travel in the traffic area of the center
       to get to the curb ramp,

    d) Red Lion Plaza fails to provide a safe accessible route to the adjacent bus
       stop/street/sidewalk, violating Section 206.2.1 of the 2010 Acce ssibility Standards. The
       lack of an accessible route prevents the option of public transportation for Mr. Moore.

       Access to Goods and Services

    e) Decaro's Pizza, The Sub Shack and Bagel Shop fail to provide accessible dining tables
       for those in wheelchairs, violating Section 902 of the 2010 Accessibility Standards. Mr.
       Moore was unable to dine comfortably due to a lack of accessible tables.

   f) Payment counters throughout Red Lion Plaza including in Decaro's Pizza, The Sub
      Shack and Bagel Shop are mounted beyond the reach of Mr. Moore, violating Sections
      308 and 904 of the 2010 Accessibility Standards.

   g) Entering tenants is impeded by abrupt changes of level and/or slopes at the base,
      violating Section 404 of the 2010 Accessibility Standards. Mr. Moore's wheelchair can
      be damaged by abrupt changes of level.

       Restrooms

   h) Restrooms at Red Lion Plaza including Decaro's Pizza, The Sub Shack and S alons were
      reported to be unsafe for use by the plaintiff. Inspection revealed M r. Moore was unable
      to use the restrooms safely due to a lack of accessibility. Including, inaccessible water
      closets which lack proper controls and wheelchair maneuvering space violating Section
      601 of the 2010 Accessibility Standards.

   i) Restrooms at Decaro's Pizza, The Sub Shack and Bagel Shop provide dispensers beyond
      reach of wheelchair users and are inaccessible to the plaintiff, violating Section 308 of
      the 2010 Accessibility Standards.

   j) Lavatories at Decaro's Pizza, The Sub Shack and Bagel Shop lack knee clearance and
      accessibility preventing the plaintiff from freely accessing the lavatory, violating Section
      606 the 2010 Accessibility Standards.

   k) Decaro's Pizza, The Sub Shack and Bagel Shop provides restrooms that contain improper
      centerlines for the water closets and flush controls mounted on the wall side, violating



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           Section 604 of the 20 10 Accessibility Standards. Mr. Moore was unable to access flush
           controls while in the restrooms due to improper location.

       1) Using restro oms doors at Decaro's Pizza, The Sub Shack and Bagel Shop in Re d Lion
          Plaza is imped ed by round door knobs, improper signag e and a lack of maneuvering
          clearance, violating Section 404 of the 2010 Accessibility Standards. Round door knobs
          impede Mr. Moore from easily accessing doors, levered doorhandles are required.

 Maintenance

       m) The acce ssible features of the facility are not maintained, creating barriers to access for
          the Plaintiff, as set forth herein, in violation of 28 CFR 36.211.

 14.      All of the foregoing violations are also violations of the 1991 Americans with Disabilities

          Act Accessibility Guidelines (ADAAG), and the 201 0 Standards for Acce ssible Design,

          as promulgated by the U.S. Department of Justice,

 15.      The discriminatory violations described in paragrap h 13 are n ot an exclusive list of the

          Defendant's ADA violations. Plaintiffs require the inspection of the Defendant's place of

          public accommodation in order to ph otograph and measure all of the d iscriminatory acts

          violating the ADA and all of the barriers to access. The individual Plaintiff, the members

          of the Plaintiff group, and all other individuals similarly situate d, have been denied

          access to, and have been denied the benefits of serv ices, programs and activ ities of the

          Defendant's buildi ngs and its facilitie s, and have otherw ise been discriminated agains t

          and damaged by the Defe ndant because of the Defendant's ADA viola tions, as set fo rth

          above. The individual Plaintiff, the members of the Plaint iff group and all others

          similarly situated will contin ue to suf fer such discrimination injury and damage without

          the immediate relief provided by the AD A as reque sted herein. In order to rem edy this

         discriminatory situation, the Plainti ff requires an inspe ction of the Defenda nt's place o f

         public accommodation in order to determine all of the ar eas of non-compliance with th e

         Americans with Disabilities Act.


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 16.   Defendant has discrimi nated against the individual and co rporate Plaint iff by denying

       them access to full and equal enjoyment of the goods, service s, facilities, privile ges,

       advantages and/or accommodations of its place o f public accommodation or commercial

       facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore,

       the Defendant continues to discriminate against the Plaintiffs, and all those similarly

       situated by failing to make reaso nable modifications in policies, practices or procedures,

       when such modifications are necessary to afford all offered goods, services, facilities,

       privileges, advantages or accommodations to individuals with dis abilities; and by fa iling

       to take such efforts that may be necessary to ensure that no individual with a disability is

       excluded, denied services, segregated or otherwise treated differently than other

       individuals because of the absence of auxiliary aids and services.

 17.   Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

       Considering the bala nce of hards hips between the Plain tiffs and Defendant, a remedy in

       equity is warranted. Furthermore, the public interest would not be disserved by a

       permanent injunction.

 18.   Plaintiffs have retained the undersigned counsel and is entitled to recover attorney's fees,

       costs and litigation expens es from the D efendant pursuant to 42 U.S.C. § 12205 and 28

       CFR 36.505,

 19.   Defendant is required to remove the existing architectural barriers to the physicall y

       disabled when such removal is rea dily achievable for its place of public accommodation

       that have existed prior to Janu ary 26, 1992, 28 CFR 36.304(a): in th e alternative, if there

       has been an alterat ion to Defendant's place of public ac commodation since Jan uary 26,

       1992, then the Defendan t is required to ensure to the max imum extent feasible, that the




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        altered portions of the facility are readily access ible to and useable by individ uals with

        disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the

        Defendant's facility is one which was designed and constructed for first occupancy

        subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant's

        facility must be readily accessible to and useable by individ uals with disabilities as

        defined by the ADA.

 20.    Notice to Defendant is not required as a result of the Defendant's failure to cure the

        violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer

       employees and gross rec eipts of $500, 000 or less). All other condit ions precedent have

       been met by Plaintiffs or waived by the Defendant.

 21,   Pursuant to 42 U.S.C. § 12188, this Court is provid ed with a uthority to grant Plain tiffs

       Injunctive Relief, including an order to r equire the Defendants to al ter Red Lion Plaza to

       make its facilitie s readily accessible and useabl e to the Plain tiffs and all other perso ns

       with disabilities as defi ned by the ADA; or by cl osing the facility u ntil such tim e as the

       Defendant cures its violations of the ADA.          The order should further request the

       Defendant to maintain the required accessible features on an ongoing basis.

 WHEREFORE, Plaintiffs respectfully request:

       a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

              commencement of the subject lawsuit is in violation of T itle III of the Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq.

       b.     Injunctive relief against the Defendant including an order to make all readily

              achievable alterations to the facility; or to make such facility readily accessible to

              and usable by individuals with disabilities to the extent required by the ADA; and




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               to require the Defendant to make reasonable modifications in policies, practices or

               procedures, when such modifications are necessary to affo rd all offered goods ,

               services, facilities, privileges, advantages or ac commodations to indiv iduals with

               disabilities; and by failing to take such steps that may be necessary to ensure that

               no individual with a disability is excluded, denied services, segregated or

               otherwise treated differently than other individuals becau se of the absence of

               auxiliary aids and services.

       c.      An award of attorney's fees, costs and litigatio n expenses purs uant to 42 U.S.C .

               § 12205.

       d.      Such other relief as the Court deems just and pro per, and/or is allow able und er

               Title III of the Ame ricans with Disa bilities Act. The Order shall furthe r require

               the Defendant to maintain the required accessible features on an ongoing basis,

                                 COUNT II
            VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION

 22.   Plaintiffs re-allege all prior obligation s as if fully set forth here in. Plaintiffs repeat the

       allegations contained in all of the proceeding paragraphs.

 23.   Defendant's facility is a place of public accommodation as defined by N. J.SA. 10:5-5,

       (New Jersey Law Against Discrimination).

 24.   New Jersey law provid es that all persons shall have the opportunity to obtain all the

       accommodations, advantages, facilities and privileges of any place of public

       accommodation without discrimin ation on the basis of disability. This oppo rtunity is

       recognized and declared to be a civil right. (See, N.J.SA. 10:5-4.)

25.    As a result of the aforementioned discrimination, Plaintiff Ronald Moore has sustained

       emotional distress, mental anguish and sufferin g and humiliation, and other inj uries, in


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         violation of the New Jersey Law Against Discrimination.

         WHEREFORE, Ronald Moore demands judgment for damages, attorneys' fees,

  litigation expenses, including expert fees and costs pursuant to the New Jersey Law Against

  Discrimination.

         Dated: N 111                        Respe


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